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                           UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

In re:                                                      Case No. 23-41916-R
         SILBURN RALPH PALMER

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Carey D. Ebert, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:

         1) The case was filed on 10/10/2023.

         2) The plan was confirmed on 01/25/2024.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

       4) The trustee filed action to remedy default by the debtor in performance under the plan
on 09/06/2024.

         5) The case was converted on 10/08/2024.

         6) Number of months from filing or conversion to last payment: 7.

         7) Number of months case was pending: 13.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $3,182.57.

         10) Amount of unsecured claims discharged without full payment: $0.00.

         11) All checks distributed by the trustee relating to this case have not cleared the bank .




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Receipts:

       Total paid by or on behalf of the debtor             $5,010.00
       Less amount refunded to debtor                           $5.00

NET RECEIPTS:                                                                                  $5,005.00


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                              $2,719.13
    Court Costs                                                            $0.00
    Trustee Expenses & Compensation                                      $375.80
    Other                                                                  $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                              $3,094.93

Attorney fees paid and disclosed by debtor:              $1,172.00


Scheduled Creditors:
Creditor                                    Claim         Claim            Claim       Principal      Int.
Name                              Class   Scheduled      Asserted         Allowed        Paid         Paid
AVANT/WEBBANK                 Unsecured         124.00           NA              NA            0.00       0.00
BRIDGECREST ACCEPTANCE CORPO Unsecured      12,412.00     13,047.49        13,047.49           0.00       0.00
CAPITAL ONE                   Unsecured          88.00           NA              NA            0.00       0.00
CAPITAL ONE                   Unsecured          75.00           NA              NA            0.00       0.00
COSERV ELECTRIC               Unsecured            NA          83.77           83.77           0.00       0.00
CREDIT SERVICE COMPANY        Unsecured      1,910.12       1,910.12        1,910.12           0.00       0.00
CREDIT SERVICE COMPANY        Unsecured         953.00           NA              NA            0.00       0.00
DEPARTMENT OF EDUCATION MOHE Unsecured      13,467.00     13,529.37        13,529.37           0.00       0.00
DISCOVER BANK                 Unsecured         174.00        515.18          515.18           0.00       0.00
EXCELSIOR COLLEGE             Unsecured      1,597.27            NA              NA            0.00       0.00
FIRST PREMIER BANK            Unsecured         522.00           NA              NA            0.00       0.00
GENESIS CREDIT MANAGEMENT     Unsecured      1,228.00            NA              NA            0.00       0.00
GLOBAL LENDING SERVICES LLC   Secured       29,785.41     29,175.59        27,170.30           0.00       0.00
GLOBAL LENDING SERVICES LLC   Secured              NA           0.00        2,005.29      1,910.07        0.00
INTERNAL REVENUE SERVICE      Unsecured            NA         100.08          100.08           0.00       0.00
INTERNAL REVENUE SERVICE      Priority       2,535.00       2,559.57        2,559.57           0.00       0.00
JEFFERSON CAPITAL SYSTEMS LLC Unsecured            NA         651.44          651.44           0.00       0.00
LVNV FUNDING LLC              Unsecured            NA         778.62          778.62           0.00       0.00
LVNV FUNDING LLC              Unsecured         778.00           NA              NA            0.00       0.00
MEDICAL CENTER OF LEWISVILLE  Unsecured            NA         200.00          200.00           0.00       0.00
MEDICAL CENTER OF LEWISVILLE  Unsecured            NA         265.55          265.55           0.00       0.00
MEDICAL CENTER OF MCKINNEY    Unsecured            NA         200.00          200.00           0.00       0.00
METHODIST HEALTH SYSTEM BY AM Unsecured            NA         200.00          200.00           0.00       0.00
NAVY FEDERAL CREDIT UNION     Unsecured            NA         686.58          686.58           0.00       0.00
NTTA                          Unsecured         900.08           NA              NA            0.00       0.00
PREMIER BANKCARD, LLC         Unsecured          81.00        218.79          218.79           0.00       0.00
SELF INC/LEAD BANK            Unsecured         228.00           NA              NA            0.00       0.00
SELF INC/LEAD BANK            Unsecured         501.00           NA              NA            0.00       0.00
SUNRISE CREDIT SERVICES       Unsecured         918.00           NA              NA            0.00       0.00
TEXAS HEALTH RESOURCES BY AME Unsecured            NA         200.00          200.00           0.00       0.00
TIDES AT LEWISVILLE           Secured              NA            NA              NA            0.00       0.00



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 Scheduled Creditors:
 Creditor                                         Claim           Claim         Claim        Principal       Int.
 Name                                Class      Scheduled        Asserted      Allowed         Paid          Paid
 UNT STUDENT ACCOUNTING           Unsecured        3,938.85              NA           NA             0.00        0.00
 VERIZON                          Unsecured           986.00          967.94       967.94            0.00        0.00


Summary of Disbursements to Creditors:
                                                                  Claim            Principal                Interest
                                                                Allowed                Paid                    Paid
Secured Payments:
      Mortgage Ongoing                                          $0.00                 $0.00                  $0.00
      Mortgage Arrearage                                        $0.00                 $0.00                  $0.00
      Debt Secured by Vehicle                              $27,170.30                 $0.00                  $0.00
      All Other Secured                                     $2,005.29             $1,910.07                  $0.00
TOTAL SECURED:                                             $29,175.59             $1,910.07                  $0.00

Priority Unsecured Payments:
       Domestic Support Arrearage                                  $0.00                 $0.00               $0.00
       Domestic Support Ongoing                                    $0.00                 $0.00               $0.00
       All Other Priority                                      $2,559.57                 $0.00               $0.00
TOTAL PRIORITY:                                                $2,559.57                 $0.00               $0.00

GENERAL UNSECURED PAYMENTS:                                $33,554.93                    $0.00               $0.00


Disbursements:

         Expenses of Administration                                 $3,094.93
         Disbursements to Creditors                                 $1,910.07

TOTAL DISBURSEMENTS :                                                                                $5,005.00


       12) The trustee certifies that the foregoing summary is true and complete and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests that the trustee be discharged and granted such relief as may be just and proper.

Dated: 11/06/2024                             By: /s/ Carey D. Ebert
                                                                               Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case , therefore, Paperwork Reduction Act
exemption 5 C.F.R. § 1320.4(a)(2) applies.



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                                       CERTIFICATE OF SERVICE

This is to certify that a true and correct copy of the foregoing Chapter 13 Standing Trustee’s Final Report
and Account has been served upon the following parties in interest by mailing a copy of same to them via
first class mail on the date set forth below or electronically via ECF.

SILBURN RALPH PALMER
14401 STAPLETON LANE
APT 1105
FORT WORTH, TX 76155

ALLMAND LAW FIRM PLLC
860 AIRPORT FREEWAY SUITE 401
HURST, TX 76054


Dated: November 06, 2024                   /s/ Carey D. Ebert
                                           Office of the Standing Chapter 13 Trustee




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